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 6
     Attorney for Defendant
 7   Lewis Easton Cantwell

 8
 9                                   UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA
10
11     UNITED STATES OF AMERICA,

12                                                          Case No. 1:21-CR-00089-EGS
                      Plaintiff,
13
              vs.                                           DEFENDANT’S SUPPLEMENTAL
14                                                          SENTENCING POSITION
15     LEWIS EASTON CANTWELL,
16
                      Defendant.
17
18   Honorable Judge Sullivan:

19          Mr. Cantwell apologize profusely in advance for failing to submit the attached character letters
20
     together with his Sentencing Position. He was under the mistaken belief that the deadline for submitting
21
     them was today rather than yesterday. He respectfully asks that Your Honor would nonetheless take
22
23   them into account when considering his sentence.

24   Date: August 30, 2022                               Respectfully submitted,
25                                                      s/ Nicolai Cocis
                                                        ___________________
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 1
                                           CERTIFICATE OF SERVICE
 2
     The undersigned hereby certifies that on August 30, 2022, a true and correct copy of the foregoing was
 3
 4   electronically filed and served via the CM/ECF system, which will automatically send electronic

 5   notification of such filing to all counsel and registered parties.
 6
 7                                                          s/ Nicolai Cocis
                                                            ______________________
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